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AO 458 (Rev. 06/09) Appearance of Counsel


                                      UNITED STATES DISTRICT COURT
                                                            for the
                                                    District of Columbia


                           United States                       )
                              Plaintiff                        )
                                 v.                            )      Case No.     21-cr-690
                           Phillip Grillo                      )
                             Defendant                         )

                                              APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

          Phillip Grillo                                                                                               .


Date:          01/25/2023
                                                                                         Attorney’s signature


                                                                           Charles Millioen - DC (90004327); CA (281090)
                                                                                     Printed name and bar number
                                                                                Federal Defenders of New York, Inc.
                                                                                770 Federal Plaza Central Islip, NY


                                                                                                 Address

                                                                                      charles_millioen@fd.org
                                                                                            E-mail address

                                                                                          (631) 712-6500
                                                                                          Telephone number

                                                                                          (631) 712-6505
                                                                                               FAX number
